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                    Exhibit F
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                                              Create an in-app      Filed
                                                               product - Play04/28/22
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        Create an in-app product
        Using Google Play's billing system , you can offer in-app products that charge users on a one-time
        basis, known as in-app products. In-app products can include items like virtual goods (for example,
        game levels or potions) and premium services within your app on Google Play.

        • You can also create a subscription, which charges users on a recurring basis.
        Important: Google Play Developer Program Policies                   and service fees apply to all in-app products,
        including both one-time products and subscriptions.



        Availability
        If you're in a supported location for merchant registration, you can use Google Play's billing system.

        If you’re in a supported location and want to start using Google Play's billing system features in your
        apps, set up a payments profile and review the Google Play's billing system API documentation .

        After you create an in-app product, it’s available for users running the latest version of the Google Play
        Store.



        Required permissions
        To offer an in-app product, you need to declare the com.android.vending.BILLING permission in
        your app’s APK manifest file. If you distribute your app globally, you can still publish apps that use
        com.android.vending.BILLING permission in all countries.



        Create in-app products
           Create a single in-app product

               Before creating a product, make sure to plan your product IDs carefully. Product IDs need to
               be unique for your app, and they can’t be changed or reused after they’ve been created.

               • Product IDs must start with a number or lowercase letter, and can contain numbers (0-9),
                   lowercase letters (a-z), underscores (_), and periods (.).
               • You can’t change or reuse a product ID after the product has been created.
               • Note: The product ID android.test is unavailable for use, along with all product IDs that
                   start with android.test.

               To create an in-app product:

               1. Open Play Console and go to the In-app products                    page (Monetize > Products > In-app
                  products).
               2. Click Create product.
               3. Enter your product details.
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                   • Product ID: A unique ID for your in-app product.
                   • Title: A short name of the item (up to 55 characters, but we recommend limiting titles to
                      25 characters to display properly in all contexts), like "Sleeping potion."
                   • Description: A long description of the item (up to 200 characters), like “Instantly puts
                      creatures to sleep."
                   • Icon: A unique and accurate image for your product. Don't include text, promotions, or
                      branding. Your product icon is shown on your store listing and during the purchase flow.
                      • 32-bit PNG
                      • 512 px by 512 px
                      • Up to 1 MB
                   • Price: Enter a price in your local currency or select a pricing template.
                   • Multi-quantity: Allow multi-quantity checkout for this product. Users will be able to
                      purchase in multiple quantities within the threshold of their country/region. Note the
                      following information:
                      • To configure multi-quantity checkout in Play Console, your app needs Google Play
                         Billing Library 4.0 . Visit the Android Developers site                to learn how to integrate the
                         Google Play Billing Library into your app
                      • Multi-quantity checkout is not available in some countries/regions.
                      • In most countries/regions where Multi-quantity checkout is available, the SKU price
                         threshold is around US$100. To allow multi-quantity checkout, you will need to
                         adjust the price (before tax) to below the threshold in each country/region.
                   • Play Points exclusive: Make your product available only in Google Play Points.

               4. Save your changes and click Activate to make your in-app product available to users..
                   • To be available for purchase, a product needs to be active, and its app needs to be
                      published.
                   • If you’re using a test account, active items are available in unpublished apps. To learn
                      more, go to the Android Developers site              .

               Languages and translations
               In-app products use the same default language as their app. To add translations in specific
               languages, select an in-app product, and then click Manage translations and apply the
               languages you want. Learn more about translating your app.



           Create a batch of multiple in-app products

               To create multiple in-app products at the same time, you can upload a CSV file that includes
               details about each of your products.

               CSV files use commas (,) and semicolons (;) to separate data values. Commas separate
               primary data values, and semicolons separate subvalues.

               When you’re creating a CSV file with in-app products, specify the CSV syntax on the first row,
               followed by the product details on the next rows.


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               Important: Each item must appear entirely on a single line within the CSV file.

               Upload a CSV file of in-app products
               1. Open Play Console and go to the In-app products                    page (Monetize > Products > In-app
                  products).
               2. Click Import.
                   • Importing multiple products by uploading a CSV file will overwrite existing products only
                      if the value of a Product ID in the CSV file matches the Product ID of an existing in-
                      app product in the product list. Overwriting a product doesn't delete in-app products
                      that aren't included in the CSV.

               3. Drop your CSV file to upload or click Upload.


               Export a CSV file of existing in-app products
               If you’ve created in-app products one at a time in Play Console, exporting a CSV file can be a
               good way to start creating them using a CSV file instead.

               1. Open Play Console and go to the In-app products                    page (Monetize > Products > In-app
                  products).
               2. Click Export.


               View a CSV file example


               Data values for CSV files




                                                           Need more help?
                                                           Try these next steps:



             Contact us
             Tell us more and we’ll help you get there




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